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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,                        )
                                                 )
                     Plaintiff,                  )
                                                 )
v.                                               )       Case No. CR-08-62-D
                                                 )
D’ANGELO TYREE McCORVEY,                         )
                                                 )
                     Defendant.                  )

                                         ORDER

       Before the Court is Defendant’s Unopposed Motion to Continue the Final

Revocation Hearing. [Doc. No. 103]. For good cause shown, the Motion is GRANTED.

Accordingly, the final revocation hearing set for May 29, 2020 is STRICKEN. Defendant

is ordered to appear for the final revocation hearing on June 26, 2020, at 9:30 a.m.

       IT IS SO ORDERED this 28th day of May 2020.
